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November 3, 2020



Via ECF

The Honorable Paul A. Engelmayer
United States District Court
40 Foley Square, Room 2201
New York, New York 10007

Re:        Oanh Nguyen v. First Eagle Investment Management, LLC et al.,
           1:20-cv-05810 (PAE)

Dear Judge Engelmayer:

We represent defendants First Eagle Investment Management, LLC, Matthew McLennan,
Kimball Brooker, and Matthew Lamphier (the “Defendants”) in this action. We have
conferred with counsel for Oanh Nguyen (“Plaintiff”) and submit this letter, in
accordance with Section 1.E of Your Honor’s rules, to respectfully request that the
following upcoming deadlines be rescheduled as indicated below:

      The initial pretrial conference originally scheduled for November 13, 2020 be
      rescheduled to November 20, 2020 or December 11, 2020;

      The Civil Case Management Plan and Scheduling Order originally due on November
      9, 2020 be rescheduled to November 16, 2020; and

      The joint letter originally due on November 9, 2020 be rescheduled to November 16,
      2020 (Dkt. 24).

This is the first request for an adjournment of the initial pretrial conference and extension
of time to submit the Civil Case Management Plan and Scheduling Order and joint letter.
Counsel for Defendants makes this request due to a scheduling conflict.

Plaintiff consents to the adjournment and extensions requested herein.

We appreciate the Court’s consideration of this request.




KRAMER LEVIN NAFTALIS & FRANKEL LLP                                     NEW YORK | SILICON VALLEY | PARIS
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The Honorable Paul A. Engelmayer
November 3, 2020




Respectfully yours,

/s/ Kevin B. Leblang

Kevin B. Leblang

KBL


cc:       All Counsel of Record (via ECF)



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                                                SO ORDERED.

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                                                                   PAUL A. ENGELMAYER
                                                                   United States District Judge


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